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 6
                            UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF WASHINGTON

 8
     UNITED STATES OF AMERICA,               )
 9                                           )
                         Plaintiff,          )       CR-08-026-FVS-2
10                                           )
          vs.                                )       ORDER GRANTING UNOPPOSED
11                                           )       MOTION TO MODIFY RELEASE
     FRAN OGREN,                             )       CONDITIONS (Ct Rec 295)
12                                           )
                         Defendant.          )
13                                           )

14         The Court having reviewed Defendant Fran Ogren’s                  Motions to

15   Modify Release Conditions; Now Therefore,

16              IT IS HEREBY ORDERED, for good cause shown, that the

17   Defendant’s Motions to Modify Release is GRANTED.
18         Ms. Ogren shall be permitted to travel to Lacey, Washington
19   April 2, 2009 and return to Northport, Washington on April 6, 2009
20   no later than 11:00 p.m.
21         DATED March 25, 2009.
22
                                s/ CYNTHIA IMBROGNO
23                         UNITED STATES MAGISTRATE JUDGE
24

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     ORDER GRANTING UNOPPOSED MOTION TO
     MODIFY RELEASE CONDITIONS - 1               1
